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                         UNITED STATES OF AMERICA
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

 UNITED STATES OF AMERICA,
                                               Criminal Case No. 11-20551
                    Plaintiff,
                                               Honorable Robert H. Cleland
 v.

 D-14, WALEED YAGHMOUR,

                Defendant.
 ______________________________/

                  PRELIMINARY ORDER OF FORFEITURE

       WHEREAS, a Second Superseding Indictment was issued in the United

 States District Court for the Eastern District of Michigan on March 20, 2013, which

 charged Defendant Waleed Yaghmour with Conspiracy to Distribute and Possess

 with Intent to Distribute Controlled Substances, in violation of 21 U.S.C. §§ 841(a)

 and 846, and Money Laundering, in violation of 18 U.S.C. § 1957;

       WHEREAS, on July 16, 2014, Defendant Waleed Yaghmour entered into a

 Rule 11 Plea Agreement, wherein he pled guilty to Counts One and Six of the

 Second Superseding Indictment;

       WHEREAS, in the Rule 11 Plea Agreement defendant Waleed Yaghmour

 agreed, pursuant to 21 U.S.C. § 853(a) with 28 U.S.C. § 2461(c), to the entry of a

 forfeiture money judgment in the amount of Six Hundred Thousand Dollars

 ($600,000) which represents the total value of the property subject to forfeiture as a
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 result of the offense described in Counts One and Six of the Second Superseding

 Indictment.

       WHEREAS, in the Rule 11 Plea Agreement defendant Waleed Yaghmour

 also agreed to be jointly and severally liable for the forfeiture money judgment, up to

 the amount of $600,000, with all other defendants found guilty of violating Count

 One of the Second Superseding Indictment. The defendant and the government

 also agreed that the forfeiture money judgment against the defendant will not be

 reduced by the forfeiture of the property seized and identified for forfeiture in the

 Forfeiture Bill of Particulars filed by the government on March 22, 2013 (Dkt.

 #308), the forfeiture of All Funds on Deposit at Chase Bank Brokerage Account No.

 93562063 (Dkt. #600, Second Forfeiture Bill of Particulars), or the forfeiture of

 Fifty Thousand Dollars ($50,000) in Lieu of The Forfeiture of Real Property

 Located at 2642 The Crossings, Canton, Michigan;

       WHEREAS, in the Rule 11 Plea Agreement the defendant Waleed Yaghmour

 also agreed that the forfeiture money judgment may be satisfied, to whatever extent

 possible, from any property owned or under the control of defendant. To satisfy the

 money judgment, defendant explicitly agrees to the forfeiture of any assets he has

 now, or may later acquire, as substitute assets under 21 U.S.C. § 853(p)(2) and

 waives and relinquishes his rights to oppose the forfeiture of substitute assets under

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 21 U.S.C. § 853(p)(1) or otherwise. The United States agrees, however, not to

 forfeit the Real Property located at 700 N. York Street, Dearborn, Michigan as a

 substitute asset in satisfaction of the forfeiture money judgment. The United States

 reserves the right to pursue the restraint, seizure and forfeiture of any funds

 constituting or derived from criminal proceeds that, subsequent to the signing of this

 Rule 11 agreement, are deposited to the equity of the Real Property located at 700 N.

 York Street, Dearborn, Michigan. The defendant agrees to provide to the

 government, at the government’s request, all mortgage payment records pertaining

 to the Real Property located 700 N. York Street, Dearborn, Michigan;

       NOW, THEREFORE, based upon the Second Superseding Indictment, the

 defendant=s agreement to forfeiture, and other information in the record:

       IT IS HEREBY ORDERED that a forfeiture money judgment in the amount

 of Six Hundred Thousand Dollars ($600,000) is granted and entered against the

 defendant Waleed Yaghmour in favor of the United States of America.

       IT IS FURTHER ORDERED that the defendant is jointly and severally liable

 for the forfeiture money judgment, up to the amount of $600,000, with all other

 defendants found guilty of violating Count One of the Second Superseding

 Indictment. The forfeiture money judgment shall not be reduced by the forfeiture

 of the property seized and identified for forfeiture in the Forfeiture Bill of Particulars

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 filed by the government on March 22, 2013 (Dkt. #308), the forfeiture of All Funds

 on Deposit at Chase Bank Brokerage Account No. 93562063 (Dkt. #600, Second

 Forfeiture Bill of Particulars), or the forfeiture of Fifty Thousand Dollars ($50,000)

 in Lieu of The Forfeiture of Real Property Located at 2642 The Crossings, Canton,

 Michigan.

       IT IS FURTHER ORDERED that the money judgment may be satisfied, to

 whatever extent possible, from any property owned or under the control of the

 defendant Waleed Yaghmour. To satisfy the money judgment, any assets that the

 defendant Waleed Yaghmour has now, or may later acquire may be forfeited as

 substitute assets under 21 U.S.C. § 853(p)(2), except that the United States shall not

 forfeit the Real Property located at 700 N. York Street, Dearborn, Michigan as a

 substitute asset in satisfaction of the forfeiture money judgment. The United States

 reserves the right to pursue the restraint, seizure and forfeiture of any funds

 constituting or derived from criminal proceeds that, subsequent to the signing of the

 defendant’s Rule 11 Agreement, are deposited to the equity of the Real Property

 located at 700 N. York Street, Dearborn, Michigan. Upon the government’s

 request, the defendant shall provide to the government all mortgage payment records

 pertaining to the Real Property located 700 N. York Street, Dearborn, Michigan.

       IT IS FURTHER ORDERED that pursuant to Fed.R.Crim.P. 32.2(b)(4)(A),


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 this Preliminary Order of Forfeiture shall become final at the time of defendant’s

 sentencing. The imposition of the forfeiture money judgment will also be made

 part of defendant=s sentence and included in the judgment, and shall not be the

 subject of ancillary criminal proceedings given that the forfeiture consists entirely of

 a money judgment.

       IT IS FURTHER ORDERED that this Court shall retain jurisdiction to

 enforce this Order and to amend it as necessary pursuant to Fed.R.Crim.P. 32.2(e).


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       IT IS SO ORDERED.


                                         s/Robert H. Cleland
 Dated: February 10, 2015                HONORABLE ROBERT H. CLELAND
                                         UNITED STATES DISTRICT JUDGE




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